






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00235-CV






Janet Kennedy and Alamo Ranch, Inc., Appellants


v.


Bobby Joe Kennedy, Appellee






FROM THE DISTRICT COURT OF HAYS COUNTY, 274TH JUDICIAL DISTRICT

NO. 99-1437, HONORABLE CHARLES R. RAMSAY, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


		

		Janet Kennedy (1) filed a notice of appeal in this cause on April 24, 2006.  On May 17,
this Court denied appellant's motion for a free appellate record, concluding that the issues raised by
that motion must be presented to the trial court first.  See Tex. R. App. P. 20.1; see also Tex. Civ.
Prac. &amp; Rem. Code Ann. § 13.003 (West 2002).  No record has been filed in this cause.

		On December 19, 2006, this Court ordered the parties to file reports detailing the
status of record preparation.  Appellee Bobby Joe Kennedy filed a letter disclaiming any interest in
the current appeal, asserting that it concerned only a claim by intervenor Richard Ihfe &amp; Associates,
P.C. ("the firm") for funds in the registry of the court in which Bobby Joe Kennedy had no interest. 
By letter, Richard H. Ihfe stated that he believed that Janet Kennedy had abandoned her appeal and
that it is moot.  The firm filed a status report asserting that his firm obtained a final judgment for
funds in the registry of the court.  The firm requested that the appeal be dismissed.  Janet
Kennedy&nbsp;did not file a status report and did not file a response to her opponent's assertion that
she&nbsp;abandoned this appeal and that it is moot.  Janet Kennedy has not shown that she has taken
the&nbsp;actions necessary&nbsp;to obtain a record in this appeal.

		We grant appellee's motion and dismiss this appeal. 

							


						                                                                                     

						G. Alan Waldrop, Justice

Before Justices Puryear, Pemberton and Waldrop

Dismissed on Appellee's Motion

Filed:   February 23, 2007
1.   Janet Kennedy purported to file an appeal on behalf of Alamo Ranch, Inc.  As a non-lawyer, Kennedy cannot represent a corporation.  Electronic Data Sys. Corp. v. Tyson, 862 S.W.2d
728, 737 (Tex. App.--Dallas 1993, no writ) ("Only a licensed attorney can appear and represent a
corporation in litigation.").  To the extent Alamo Ranch, Inc. is before this Court, however, Janet
Kennedy purports to represent it.  Accordingly, all references to Janet Kennedy in this opinion will
encompass Alamo Ranch, Inc.


